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                        Mercy Fitzgerald Hospital
                                 General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




                                                            Lab Results, BMP Diagram
10/24/16 04:50


                                             ...1.3•31111iiiio+--9-B-~li--1-5-•~
                                            _C§d
                                            5.11 27                1.1   ~

                                                        PT/PTT/INR
10/24/16 04:50:
Prothrombin Time 15.8, Prothromb Time International Ratio 1.3

Quality
Code Status: Full Code
Line Necessity Addressed: Yes
VTE Prophylaxis Ordered: Yes
Indwelling Foley catheter: No
Central Venous Catheter: No

Impression and Plan
Assessment
Problem List:
(1) Loculated pleural effusion
Chronic Problems:

l\Jlanagement Plan
Plan
37M with past history of HIV, anxiety, and polysubstance abuse who was adm itted after being found unresponsive at
home. He has intubated on arrival on 10/17/16 and was extubated on 10/15/16. Since that time his chest x-rays have
demonstrated right lower lobe consol idation and an increasing right pleural effusion, leading to failed attempts at IR
drainage. Chest CT performed on 10/20/16 demonstrates a small to moderate loculated right effusion. Thoracic
surgery is being consulted for evaluation and possible intervention for the patient's right loculated pleural
effusion.Failed IR tho racentesis due to loculated pleural effusion

Continue care per ICU
Continue IV antibiotics - currently on cefepime, gentamicin, lateral
Hold tube feeds for OR today, may restart postop
Continue to monitor respiratory status
OR today for VA TS and decortication
Follow-up labs replete as needed
DVT prophylaxis


MARCOE,JEFFREY P MD                                                            Oct 24, 2016 10:29

        <Electronically signed by JEFFREY P MARCOE, MD> 10/24/16 1055


PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1024-0178
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247



         <Electronically signed by HA.JIM SHARIFF, MD> 10/28/16 1143




MARCJE I JM I DD 10/241161029 /OT 10/24/16 1029




PATIENT: EFUN NUGAOLUTOKUNBO
cc:
REPORT#: 1024-0178
REPORT STATUS: Signed
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                                                   Mercy Fitzgerald Hospital
                                                       Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247
ACCT : FA1307223089                                ADMIT DATE: 10/07/16
REPORT # : 1025-0030                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                   *** Signed Status ***

Subjective
Encounter Date & Time
10/25/16 06:19
Subjective
Patient seen, resting on the ventilator, nursing at bedside, status post Mini thoracotomy, decortication, unroofing of
pulmonary abscess, placement of two chest tubes, for persistent empyema

Objective
Patient Data
                                            Vital Signs, Last Documented
         Date Time        Temp     Pulse    Resp     B/P       Pulse Ox    02 Deliverv    02 Flow Rate     Fi02
        10/25/16 03:00              124       29     113/69          97    Ventilator                        40
        10/25/16 00 :00     37.9
        10/24/16 10:00                                                                             2.00

Weight in Kg
93.00
                                                              Bedside Blood Glucose
10/25/16 06:09: POC Glucose 133
Appearance: : No Acute Distress
Thorax: : Rhonchi
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted : Non-tender

Results
                                                              Lab Results, BMP Diagram
10/24/16 17:30


                                            ~16
                                              ~1.1


Impression and Plan
Problem List:
( 1) E rnpyema


PATIENT: EFUN NUGA,OLUTOKUNBO
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                          Mercy Fitzgerald Hospital
                                     Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



Impression and Plan: status post Mini thoracotomy, decortication , unroofing of pulmonary abscess, placement of
two chest tubes, plan to continue with postop wound care, chest tube management and antibiotic regimen including
cefepime, Flagyl and gentamicin, ventilator weaning as appropriate
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Continue full ventilator support and wean as mentioned
(3) AKI (acute kidney injury)
(4) Toxic encephalopathy
Chronic Problems:


HAMID.SAMMY, MD                                                              Oct 25, 2016 06:20

         <Electronically signed by SAMMY HAMID, MD> 10/26/16 0607




HAM ISA I SH I DD 10/25/16 0620 IDT 10/25/16 0620




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1025-0030
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                                                  Mercy Fitzgerald Hospital
                                                      Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA 1307223089                              ADMIT DATE: 10/07/16
REPORT # : 1025-0038                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                  ***Signed Status***


Subjective
Encounter Date & Time
10/25/16 06:26
(IRIARTE OPORTO.BLANCA E MD)

Subjective
Hospital LOS days: 19
ICU LOS: 19
Subjective
Patient was seen and examined at bedside. Patient is sleeping/resting on a ventilator. Overnight: Patient was
agitated, he pulled put the femoral arterial line. He spiked a fever 38.2/38.8. SBT/SAT trial failed. Consulted PICC
line to check for line patency.
 (IRIARTE OPORTO,BLANCA E MD)

Review of Systems
Unable to Obtain: Clinical Condition (Patient in mechanically ventilated/intubated. )
(IRIARTE OPORTO,BLANCA E MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                           Medications Active List
      Medications             Dose                      Sig/Sch     Start Time           Status   LastAdm in
                              Ordered                               stop Time
      Folic Acid              1 mg                      DAILY        10/11/16 09 :00              10/23/1608:11

      Thiamine HCI             100 mg                   DAILY          10/11/16 09:00             10/23/1608:11

      Enoxaparin Sodium       40mg                      DAILY          10/11/16 10:45             10/23/16 09:48

      Insulin Human           SS LOW DOSE LOW           Q6             10/12/16 07:45             10/22/16 18:50
      Regular                 INTENSITY
                              SCALE: BL _
      Dextrose                16gm                      PRN PRN        10/12/16 11 :45            10/12/16 12:41

      DextroseM/ater           12.5 gm                  PRN PRN        10/12/16 11 :45




PATIENT: EFUN NUGA,OLUTOKUNBO
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                         Mercy Fitzgerald Hospital
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PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



         Risperidone           2 mg                      BID          10/15/16 12:15         10/24/16 20:34

         Haloperidol           5mg                       Q6 PRN       10/17/16 11 :15        10/21/16 04:22
         Lactate
         Clonazepam 1 mg        1 mg                     BID          10/19/16 10:45         10/24/16 20:34

         Gentamicin            53ml@                     QB           10/20/16 10:49         10/25/1605:17
         Sulfate/Sodium        100 mis/hr
         Chloride
         Polyethylene           17 gm                    DAILY        10/20/16 11 :DO        10/23/1608:11
         Glvcol 17 am
         Metron idazole/       100 ml@                   QB           10/20/16 21 :00        10/25/1605:16
         Sodium Chloride       200 mis/hr
         Acetaminophen         650 mg                    Q4H PRN      10/20/1619:30          10/25/1605:18

         Nystati n 500 m u     500 mu                    QID          10/21/16 13:00         10/24/16 20:34

         Cefepime HCI          50ml@                     Q6           10/22/1617:00          10/25/1605:17
                               100 mis/hr
         Senna/Docusate        1 tab                     BID          10/23/16 10:45         10/24/16 20:34
         Sodium 1 tab
         Propofol               100 ml @O                QOM PRN      10/24/16 16:45         10/24/1616:55
                                mis/hr
         Hydromorphone HCI      1 mg                     Q3H PRN      10/24/1617:45

         Hydromorphone HCI      1.5 mg                   Q3H PRN      10/24/16 17:45         10/25/16 05: 18
         1.5 ma
         Sodium Chloride       1,000 ml@                 Q16H40M      10/24/16 1B:OO         10/25/16 05:32
                               60 mis/hr
         Docusate Sodium       100 mg                    DAILY        10/25/16 09:00


(IRIARTE OPORTO,BLANCA E MD)

Patient Data


                                                  Vital Signs 24 Hours
       Date Time        Temp   Pulse     Resp   B/P              Pulse Ox   02 Deliverv   02 Flow Rate   Fi02
      10/25/16 03:00            124        29           113/69         97   Ventilator                     40
      10/25/16 02 :40                      26                                                              50
      10/25/16 02 :00           132        27          119175         96    Ventilator                     40
      10/25/16 01 :00           137        36          135173         97    Ventilator                     40
      10/25/16 00:00                                                        Ventilator                     40
      10/25/16 00:00                       28                                                              40
      10/25/16 00:00                       28                                                              40


PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247



   10/25/16 00:00       37.9   118   26          119/62        100   Ventilator                     40
   10/24/16 23:00              119   28          120/63         99   Ventilator                     40
   10/24/16 22:00       38.2   132   31          106/60         96   Ventilator                     40
   10/24/16 21 :00             142   34          114/62         96   Ventilator
   10/24/16 20:45                    46                                                             40
   10/24/16 20:40                    34                                                             50
   10/24/16 20:35                    46                                                             50
   10/24/16 20:30              130   27          128/64        40    Ventilator                     40
   10/24/16 20:25                    32                                                             40
   10/24/16 20:00                                                    Ventilator                     40
   10/24/16 20:00       38.8   127   27          110/58        98    Ventilator                     40
   10/24/16 20:00                                                                                   40
   10/24/16 19:00              128   25          127/62         97   Ventilator                     40
   10/24/16 18:45              133   24          116/61         97   Ventilator                     40
   10/24/16 18:30              134   32          141171        100   Ventilator                     40
   10/24/16 18:15              133   30          124/69        100   Ventilator                     40
   10/24/16 18:00              133   31          134/69        100   Ventilator                     40
   10/24/16 17:30              126   31          125/65        100   Ventilator                     50
   10/24/16 17:25              126   30          131/68        100   Ventilator                     50
   10/24/16 17:20              129   28          120/63         99   Ventilator                     50
   10/24/16 17:15              133   26          141172        100   Ventilator                     50
   10/24/16 17:10              135   26          154177        100   Ventilator                     50
   10/24/16 17:05              129   23          139/69         99   Ventilator                     50
   10/24/16 17:00                                                    Ventilator                     50
   10/24/16 17:00              132   28                        100   Ventilator                     50
   10/24/16 17:00                                                                                   50
   10/24/16 16:55       38.4   136   26          147171        100   Ventilator                     50
                                          Automatic Cuff
   10/24/16 16:55                                146178
   10/24/16 16:50                    40                                                              50
   10/24/16 15:08                    16                                                             100
   10/24/16 10:39       37.2   114   30                        100
   10/24/16 10:00              119   37          124/79         98   Nasal Cannula          2.00
   10/24/16 09:00              110   32          111/67        100   Nasal Cannula          2.00
   10/24/16 08:00       37.3   109   33          124/69         97   Nasal Cannula          2.00
   10/24/16 08:00                                                    Nasal Cannula          2.00
   10/24/16 07 :00             111   24          123175        100   Nasal Cannula          2.00

Weight in Kg
93.00
                                                      Bedside Blood Glucose Last 24h
10/24/16 10:44: POC Glucose 99
10/24/16 17:44: POC Glucose 85
10/24/16 21 :42: POC Glucose 105
10/25/16 06:09: POC Glucose 133




PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



                                                                         10/25/16
                                                                            07 :00
                                 Intake Total                           2986.2 ml
                                 Output Total                            3495 ml
                                 Balance                                -508.8 ml

                                 IV Total                                 861 .2 ml
                                 Tube FeedinQ                                  Oml
                                 Tube lrrigant                              125 ml
                                 other                                     2000 ml
                                 Output Urine Total                        3075 ml
                                 Chest Tube Drainaae Total                  420 ml
                                 # Bowel Movements                                1

Sedation Score Actual
-1

(IRIARTE OPORTO.BLANCA E MD)

Ventilator Settings
Ventilator Settings:
  Delivery Method: Endotracheal Tube
  Mode: AC
  Ventilator Rate: 16
  FI02 (21-100%): 50
  Tidal Volume (ml): 450
  PEEP (cm H20): 5
  Confirmation of Position: Chest Xray
(IRIARTE OPORTO,BLANCA E MD)

Physical Exam
Appearance: : Mild Distress: other (DIAPHORETIC)
Head Exam: : Moist Mucous Membranes: Normocephalic: Symmetric
HEENT: : EOMI : other (BILATERAL SCLERAL ICTERUS ): PERRL
Thorax: : Crackles (ON RIGHT AND LEFT LUNG FIELD) : No Accessory Muscle Use: Other (COARSE
VENTILATOR TRANSMITTED SOUNDS ON BOTH LUNG FIELDS.)
cardiovascular: : Regular Rate Rhythm : Tachycardia
Abdomen: : Bovvel Sounds Noted : Non-distended : Non-tender: Soft
Wound Present: Yes
Wound Comments
Right lower latero-posterior hemithorax wound sip mini-thoracotomy and decortication, covered with clean dressing. 2
chest tubes observed. Chest tube discharge bag is draining a sanguinolent fluid .
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Abnormal (Drownsy )


PATIENT: EFUN NUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



Follows Commands: Yes
(IRIARTE OPORTO.BLANCA E MD)

Results
Results
                                                           Lab Results, BMP Diagram
10/24/16 17:30


                                           ~16
                                           5:823 1.1
10/25/16 05:55


                                           ~16
                                           5:9i7 1.2
                                                           Arterial Blood Gas
10/7/16 17:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91 .1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31. 3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Galci um (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/24/16 17:00:
Arterial Blood pH 7.41 , Arterial Blood pH (Temp corrected) 7.41 , Arterial Blood Partial Pressure C02 40.6, Arterial
Blood pC02 (Temp correct) 40.6, Arterial Blood Partial Pressure 02 104, Arterial Blood p02 (Temp corrected) 104,
Arterial Blood HC03 25.4, Arterial Bid 02 Saturation (Measur) 97.8, Arterial Blood Base Excess 0.7, Arterial Blood
Hematocrit 38.6, Arterial Blood Sodium 127, Arterial Blood Potassium 8.6, Chloride (Blood Gas) 100, Ionized
Calcium (Measured) (Bid Gas 1.07, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
O.na, Blood Gas Ventilator Setting 16, Fi02 50.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes
 (IRIARTE OPORTO, BLANCA E MD)
Diagnostics Reviewed: Yes
Imaging
10/25/16 PCXR read by me: ETT is 3cm from carina. R chest tube x 2 in place. No pneumothorax. There is
resolution of loculated right pleural effusions seen yesterday. LUE PICC line is in place.
 (VALENTINO.DOMINIC J, DO)

Quality
Discussed Care Plan with: Patient
Code Status: Full Code
(IRIARTE OPORTO,BLANCA E MD)
Lines Tubes and Catheter: Chest Tube (2 CHEST TUBES ON RIGHT HEMITHORAX (10/25/2016) ), ETT (10/24/


PATIENT: EFUNNUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247



2016), NG Tube (Dobhoff tube ( 10/19/2016) ), PICC (10/11/2016), Urinary catheter (10/24/2016)
 (IRIARTE OPORTO.BLANCA E MD)
Lines Tubes and Catheter: Chest Tube (2 CHEST TUBES ON RIGHT HEMITHORAX (10/24/2016) ), ETT (10/24/
2016), NG Tube (Dobhoff tube ( 10/19/2016) ), PICC (10/11/2016 LUE), Urinary Catheter (10/2412016)
 (VALENTINO,DOMINIC J, DO)
VTE Prophylaxis Ordered: Yes
 (IRIARTE OPORTO,BLANCA E MD)
Indwelling Foley catheter: Yes
Urinary cath Insertion Date: Oct 24, 2016
Indication for Indwelling cath: Measure Urine Output
 (IRIARTE OPORTO,BLANCA E MD)
I Will Enter Order to Remove: Yes
 (VALENTINO.DOMINIC J, DO)
Central Venous Catheter: No
 (IRIARTE OPORTO,BLANCA E MD)
1 :1 Sitter: Continued (Reminder: Enter Orders in POM)
Non-Violent Restraints: Continued (Reminder: Enter Orders in POM)
 (IRIARTE OPORTO,BLANCA E MD)

Impression and Plan
Assessment
Problem List:
(1) Severe sepsis
(2) ER1>yema
(3) Pulmonary abscess
(4) Aspiration pneumonia
(5) Loculated pleural effusion
(6) Electrolyte disturbance
(7) Acute liver failure
(8) Suicidal overdose
(9) Polysubstance abuse
(10) HIV (human immunodeficiency virus infection)
(11) Oral thrush
(12) Antisocial personality disorder in adult
(13) Anxiety
(14) S/P thoracotomy
Chronic Problems: (IRIARTE OPORTO,BLANCA E MD)
Problem List:
(1) Abscess of lung with pneumonia
(2) ER1>yema
(3) SJP thoracotomy
(4) Electrolyte disturbance
(5) Suicidal overdose
(6) Polysubstance abuse
(7) HIV (human immunodeficiency virus infection)


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247



(8) Nicotine dependence
(9) Delirium, acute
(10) Anxiety
(11) Antisocial personality disorder in adult
(12) Oral thrush
Chronic Problems: (VALENTINO,DOMINIC J, DO)
Management Plan
Plan
Neuro: Continue risperidone.
       Haldol for agitation.
       Continue Clonazepam.
       Continue with pain control with Dilaudid.
       F/u psych evaluatlon since patient Is 302.

CVS: Patient continues to be tachycardic most likely secondary to sepsis/s/p mini thoracotomy/pain.
We will monitor vital signs and control the pain.
         B.P. fairly controlled
         TEE was performed at bedside yesterday and showed no vegetations, we will follow up with
official report.

Pulm-
       - Patient is status post Mini Thoracotomy and decortication, the post - operative findings are:
multiple loculated pleural effusions, pulmonary abscess.
       - Patient tolerated well the procedure, specimen was collected and we will follow up with
culture results.
       - SBT/SAT today.
       - Continue with Gentamycin, cefepime and metronidazole for aspiration pneumonia/empyema.
       - Continue with nebulizations, suction and nystatin swish and swallow.

GI:     Continue Nystatin swish and swallow for oral candidiasis.
        Elevated LFT secondary to liver sepsis. We will monitor LFTs.


GU: No active issue. Last serum creatinine was within normal limits we will continue to monitor
since patient is on gentamicin.


ID: Aspiration pneumonia and Empyema of Right lung.
    Continue Cefepime, Metronidazole and gentamicin
    Echocardiogram showed NO vegetations or valvulopathy.
    Hx of HIV infection- CD4 count is: 245 ( Low). Will start HAART therapy once acute illness
resolves

Hem/One: INR is elevated- most likely due to liver injury secondary to sepsis.


PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



             We will re-start DVT prophylaxis with Enoxaparin 40 mg s/c Daily.

Endo: No active issues

F/E/N: Monitor electrolyte and replete as needed
       Continue with tube feeds and follow up with nutrition recommendations.

Social: Full code.
        NOK:    Sheree Bradham ( 484) 420-5809 Mother
               Ellis Bradham (610) 348-4661 Father
               Tosin Efunnuga 267-918-4065 Sister


(IRIARTE OPORTO, BLANCA E MD)

Additional lnfonnation
Condition: Critical
Critical Care Time (mins): 40 (excludes teaching and procedures)
 (VALENTINO,DOMINIC J, DO)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Patient remains alert on vent as of this AM. Could not be extubated post op due to pain control issues, but we
corrected that by this AM .
I added precedex which helped alot.
Will wean off that post extubation. We were able to extubate.
Add Kayexelate for mild hyperkalemia.
Need to get 008 to chair today.
Get PT to see him .
Keep dobhoff in for now. Get speech re-evaluation.
Maintain abx, but can get input from ID as TEE was negative and we can start to taper back ABX.

Will need re-eval by psych for 302status, but still on 1:1.
Also need to contact local police who had asked to question him about an outstanding warrant. We will let security
know to contact them .

Plans reviewed in rounds with ICU nurse and residents in detail.
(VALENTINO,DOMINIC J, DO)


IRIARTE OPORTO.BLANCA E MD                                                    Oct 25, 2016 06:30
VALENTINO, DOMINIC J, DO                                                      Oct 25, 2016 10:13

        <Electronically signed by BLANCA E IRIARTE OPORTO, MD> 10/25/16 0826
        <Electronically signed by DOMINIC J VALENTINO, DO> 10/25/16 1032


PATIENT: EFUNNUGA,OLUTOKUNBO
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                           Mercy Fitzgerald Hospital
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PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




IRIABL I BIO I DD 10/25/16 0630 IDT 10/25116 0630




PATIENT: EFUNNUGA,OLUTOKUNBO
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                                                Mercy Fitzgerald Hospital
                                                     Cardiology Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                MR#: F001250247
ACCT: FA 1307223089                            ADMIT DATE: 10/07/16
REPORT # : 1025-0123                           DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN , MARIO, MD
PCP: DOCTOR,NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/25/16 08:46
 (KUMAR,NITISH MD)
Service: Cardiology
 (KUMAR,NITISH MD)
Subjective
Patient seen and examined at bedside. POD1 for Mini thoracotomy, decortication, unroofing of pulmonary abscess,
placement of two chest tubes, all performed on right side. SIP TEE 10/24/16. He is on a ventilator and on PS mode -
8/5 currently. Earlier today he failed SAT/SBT and another attempt is being done right now. He is following
commands and able to nod yes/no to questions. He denies any chest pain, SOB, dizziness, lightheadedness,
palpitations. He is resting comfortably. Overnight, he was noted to be agitated and pulled out this Femoral arterial
line. Fever spike overnight. Continues to be on 1:1 observation and 302 status.
Appetite: Poor
Sleep: Fairly Bad
 (KUMAR,NITISH MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                          Medications Active List
      Medications             Dose                     Sig/Sch     Start Time          Status   LastAdmin
                              Ordered                              Stoo Time
      Folic Acid              1 mg                     DAILY       10/11/16 09:00               10/23/1608:11

      Thiamine HCI            100 mg                   DAILY         10/11/16 09:00             10/23/1608 :11

      Enoxaparin Sodium       40mg                     DAILY         10/11/16 10:45             10/23/16 09:48

      Insulin Human           SS LOW DOSE LOW          Q6            10/12/16 07 :45            10/22/16 18:50
      Regular                 INTENSITY
                              SCALE: Bl. ..
      Dextrose                16 gm                    PRN PRN       10/12/16 11 :45            10/12/16 12:41

      DextroseM/ater          12.5 gm                  PRN PRN       10/12/1611:45

      Risperidone             2 mg                     BID           10/15/16 12:15             10/24/16 20:34




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1025-0123
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                Cardiology Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247



      Haloperidol             5mg                     Q6 PRN        10/17/16 11 :15           10/21/16 04:22
      Lactate
      Clonazepam 1 mg         1 mg                    BID           10/19/16 10:45            10/24/16 20:34

      Gentamicin              53ml@                   QB            10/20/16 10:49            10/25/1605:17
      Sulfate/Sodium          100 mis/hr
      Chloride
      Polyethylene            17 gm                   DAILY         10/20/1611 :00            10/23/16 08: 11
      Glvcol 17 am
      Metronidazole/          100 ml@                 QB            10/20/16 21 :OD           10/25/1605:16
      Sodium Chloride         200 mis/hr
      Acetaminophen           650 mg                  Q4H PRN       10/20/1619:30             10/25/1605:18

      Nystati n 500 mu        500 mu                  QID           10/21/1613:00             10/24/16 20:34

      Cefepime HCI            50ml@                   Q6            10/22/16 17:00            10/25/1605:17
                              100 mis/hr
      Senna/Docusate          1 tab                   BID           10/23/16 10:45            10/24/16 20:34
      Sodium 1 tab
      Propofol                100 ml @O               QOM PRN       10/24/16 16:45            10/24/16 16:55
                              mis/hr
      Hydromorphone HCI       1 mg                    Q3H PRN       10/24/16 17:45

      Hydromorphone HCI       1.5 mg                  Q3H PRN       10/24/16 17 :45           10/25/16 05:18
      1.5 mq
      Sodium Chloride         1,000 ml@               Q16H40M       10/24/16 18:00            10/25/16 05:32
                              60 mis/hr
      Docusate Sodium         100 mg                  DAILY         10/25/16 09:00


(KUMAR,NITISH MD)

Patient Data
                                           Vital Signs, Last Documented
         Date Time         Temo    Pulse   Reso B/P          Pulse Ox 02 Deliverv     02 Flow Rate   Fi02
        10/25/16 08:00      37.2    111       30 124170            97 Ventilator                       40
        10/24/16 10:00                                                                        2.00

Weight in Kg
93.00
                                                           Bedside Blood Glucose
10/25/16 06:09: POC Glucose 133
(KUMAR,NITISH MD)

Physical Exam


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                               Cardiology Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247



General : resting comfortably, NAO, following commands, Intubated and mechanically ventilated
HEENT : PERRLA, EOMI, No conjunctiva! injection
Chest: coarse breath sounds BL, No wheezing, R hemithorax incision site noted - c/d/i, no blood, no soakage, CT
noted draining dark bloody output
Cardiovascular: no jugular venous distension
Abdomen: soft, non tender, bowel sounds noted, Foley's draining yellOIN urine
Musculoskeletal : no gross deformities
Neurologic: alert/awake/oriented, grossly no abnormalities
(KUMAR,NITISH MD)

Results
                                                         Lab Results, CBC Diagram
10/25/16 05:55




                                                         Lab Results, BMP Diagram
10/24/16 17:30


                                          ~16
                                          5:823 1.1
10/25/16 05:55




Diagnostics Reviewed: Yes
(KUMAR,NITISH MD)

Quality
Code Status: Full Code
 (KUMAR,NITISH MD)
Lines Tubes and Catheter: Chest Tube (10/24- R Hemithorax), ETT (10/24), PICC (10/11), Urinary Catheter (10/
24), other (DHT 10/19)
 (KUMAR,NITISH MD)
VTE Prophylaxis Ordered: Yes
 (KUMAR,NITISH MD)
Indwelling Foley Catheter: Yes
Urinary Cath Insertion Date: Oct 24, 2016
Indication for Indwelling Cath: Acute Urinary Retention
I Will Enter Order to Remove: No


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                 Cardiology Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



 (KUMAR,NITISH MD)
Central Venous Catheter: No
I Will Enter Order to Remove: No
 (KUMAR,NITISH MD)

Impression and Plan
Problem List:
(1) SIP thoracotomy
(2) Fever
(3) Tachycardia
(4) Aspiration pneumonia
(5) Delirium, acute
(6) ErT1Jyema
(7) Suicidal overdose
(8) Polysubstance abuse
(9) HIV (human immunodeficiency virus infection)
(10) Antisocial personality disorder in adult
Chronic Problems:
Additional Comments

- Patient is POD 1 for Mini thoracotomy, decortication, unroofing of pulmonary abscess, placement of two chest
tubes, all performed on right side.
- Post-operative care in the ICU. Currently intubated and on SAT/SBT again . Failed attempt x 1 this morning
- SIP TEE on 10/24/16 - mildly reduced left and right ventricular systolic function. No valvular disorders. No evidence
of infective endocarditis
- Currently denies any chest pain, SOB, dizziness, lightheadedness, palpitations
- Continues to display tachycardia. With IE ruled out. etiology of Tachycardia likely multifactorial - sepsis, pain, post-
op pain. Anticipate HR to be better controlled as pain improves. BP currently appears well controlled . If HR does not
seem to improve one can consider a low-dose LON pressor.
- Overnight fever spike x 1. Afebrile th is morning but leukocytosis. Continue with IV Flagyl, Gentamicin, Cefepime
- Recommend repeat 20-ECHO in 2-3 months to follow up on LVEF, and RV/LV Systolic function . Mildly depression
systolic function can be attributed to the stress induced acute infectious period. Conversely, he could also have a
component of non-ischemic CM in view of his chronic alcoholic state/history of polysubstance overdose.
- Monitor hemodynarnics closely
- ICU for now
 (KUMAR,NITISH MD)
Additional Comments
I have seen and evaluated the patient, revie-wed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Post right-sided any thoracotomy and recorded dictation of loculated pleural effusion and drainage of pulmonary
abscess. Currently on IV antibiotics and IV fluids and still intubated. He is awake but I'm unclear how alert he has. He
does nod his head that he understands when I explained he does not have infection of the heart valves. He is asking
for water as well.

NAO, MMM
NoJVD

PATIENT: EFUNNUGA,OLUTOKUNBO
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                         Mercy Fitzgerald Hospital
                                    Cardiology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



Course breath sounds bilaterally, decrease in the right base
Regular but tachycardic rhythm , S1 and S2 preserved, no murmur, rub or gallop
No lower extremity edema
Normoactive bowel sounds, soft, nontender
lntegumentary is warm and well-perfused

Telemetry: Sinus tachycardia

Loculated pleural effusion and bacteremia: No evidence of infectious endocarditis on TEE yesterday.

Mildly reduced left ventricular systolic function : Also noted on the TEE yesterday at the right ventricle has mild
systolic dysfunction. This may be a stress-induced decreased in biventricular function. Clinically he appears
euvolemic. He will need a repeat echocardiogram in 2-3 months after discharge to further evaluate and to determine
if further workup is needed.

Tachycardia: This is sinus tachycardia and likely physiologic in this setting. Since his tachycardia is persistent,
consider the addition of low-dose metoprolol tartrate.
(MENETREY,JAMMIE E DO)


KUMAR,NITISH MD                                                                   Oct 25, 2016 08:52
MENETREY,JAMMIE E DO                                                              Oct 25, 2016 09:38

         <Electronically signed by NITISH KUMAR, MD> 10/25/16 1012
         <Electronically signed by JAMMIE E MENETREY, DO> 10/25/16 0938




KUMANI01 INK I DD 10/25/16 0852 / DT 10/25/16 0852




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1025-0123
REPORT STATUS: Signed
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                                                  Mercy Fitzgerald Hospital
                                                       Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA 1307223089                              ADM IT DATE: 10/07/16
REPORT # : 1025-0242                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                  ***Signed Status***


Subjective
Encounter Date & Time
10/25/16 12:03
Service: Infectious Disease
Subjective
Pt alert, tolerating enteral feedings via kaofeed tube Pt sip right pleural decortication and drainage of local abscess
yesterday, thoracotomy intact,

Objective
Patient Data
                                           Vital Signs, Last Documented
         Date Time        Temp     Pulse   Resp B/P        Pulse Ox 02 Delivery           02 Floo Rate      Fi02
        10/25/16 11 :OO             124      39 119/64           96 Aerosol Mask                              40
        10/25/16 08:00     37.2
        10/24/16 10:00                                                                              2.00

Weight in Kg
80.00
                                                            Bedside Blood Glucose
10/25/16 10:55: POC Glucose 90

Physical Exam
Tm 98.8

no strider or meningismus right thoracostomy tube intact abd active bs no guarding or pulsation sir intact iv access
intact Neuro no tremor appreciated

Results
                                                            Lab Results, CBC Diagram
10/25/16 05:55


                                               24.9


                                                            Lab Results, BMP Diagram
10/24/16 17:30


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1025-0242
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




                                           8ERR                           ~
                                                                  16
                                             5.8        23        1.1

10/25/16 05:55



                                           ~                              ~
                                                                  16
                                             5.9        27        1.2

10/25/16 08:29



                                           ~                              ~
                                                                  16
                                             5_7        28        1.2

                                                             PT/PTT/INR
10/25/16 08:29:
Prothrombin Time 17.2, Prothromb Time International Ratio 1.5
new c/s pending
Imaging
reviewed

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood c/ sterile, TEE= n o vegetations or valvular abnormality,
pneumonia : aspiration. complicated by right effusion, and cavitary formation,
right pleural effusion: sip decortication and drainage 10/24
HIVD: moderately advanced, CD4 240-300
elevated temperature :recurrent, presently resolved , new els sterile
confusion: resolving
leukocytosis: follow response to intervention
abx mgmt:continue combination parental cefepime and metronidazole pending new c/s
discussed clinical presentation with pt and icu nursing staff

recommend TEE when logistically feasible


GILBERT.MARK, MD                                                               Oct 25, 2016 12:08

        <Electronically signed by MARK GILBERT, MD> 10/25/16 1208




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1025-0242
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247




GILBMA I MG I DD 10/251161208 / DT 10/25/16 1208




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1025-0242
REPORT STATUS: Signed
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                                                   Mercy Fitzgerald Hospital
                                                        Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                                ADMIT DATE: 10/07/16
REPORT #: 1026-0027                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                   ***Signed Status***


Subjective
Encounter Date & Time
10/26/16 06:26
Subjective
pt seen, resting well, extubated, afebrile, chart reviwed

Objective
Patient Data
                                            Vital Signs, Last Documented
         Date Time        Temo    Pulse    Reso     B/P      Pulse Ox   02 Deliverv      02 Flow Rate   Fi02
        10/26/16 06:00             121       24     109/78        100   Nasal Cannula            4.00
        10/26/16 02 :00    37.1
        10/25/16 11 :OO                                                                                   40

Weight in Kg
80.00
                                                             Bedside Blood Glucose
10/26/16 05:01: POC Glucose 122
Appearance: : No Acute Distress
Thorax: : Rhonchi
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bovvel Sounds Noted

Results
                                                             Lab Results, CBC Diagram
10/26/16 05:45




                                                             Lab Results, BMP Diagram
10/25/16 08:29


                                             ~16
                                              ~1.2

PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1026-0027
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                     Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




                                                             PT/PTT/INR
10/25/16 08:29:
Prothrombin Time 17.2, Prothromb Time International Ratio 1.5

Impression and Plan
Problem List:
(1) Empyema
Impression and Plan: Status post Mini thoracotomy, decortication , unroofing of pulmonary abscess, placement of
two chest tubes, plan to continue with postop care and abx per ID including cefepime and flagyl
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: stable
(3) AKI (acute kidney injury)
Impression and Plan: labs noted, stable creat
(4) Toxic encephalopathy
Chronic Problems:


HAMID.SAMMY, MD                                                              Oct 26, 2016 06:27

         <Electronically signed by SAMMY HAMID, MD> 10/27/16 0624




HAMISA I SH I DD 10/26/16 0627 / DT 10/26116 0627




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1026-0027
REPORT STATUS: Signed
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                                                Mercy Fitzgerald Hospital
                                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT #: 1026-0057                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/26/16 07 :31
(IRIARTE OPORTO,BLANCA E MD)

Subjective
Hospital LOS days: 20
ICU LOS: 20
Subjective
Patient was seen and examined at bedside. He continues complaining of coughing and right hemithorax pain. He is
calm , alert but is not cooperative.
Overnight: Patient tolerated 30 % of his diet and around 21 :OO he was put back on tube feeds. No other acute events
overnight.
 (IRIARTE OPORTO, BLANCA E MD)

Review of Systems
Unable to Obtain: Uncooperative Patient
(IRIARTE OPORTO,BLANCA E MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                          Medications Active List
      Medications             Dose                     Sig/Sch     start Time          status   LastAdmin
                              Ordered                              stop Time
      Enoxaparin Sodium       40mg                     DAILY        10/11/16 10:45              10/25/16 09:35

      Insulin Human           SS LOW DOSE LOW          Q6            10/12/16 07:45             10122/1618:50
      Regular                 INTENSITY
                              SCALE: Bl. ..
      Dextrose                16gm                     PRN PRN       10/12/16 11 :45            10/12/1612:41

      DextroseM/ater          12.5 gm                  PRN PRN       10/12/1611 :45

      Risperidone             2 mg                     BID           10/15/16 12:15             10/25/16 20:38

      Haloperidol             5mg                      Q6 PRN        10/17/16 11 :15            10121/16 04:22
      Lactate


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                         Mercy Fitzgerald Hospital
                                  Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



      Clonazepam              1 mg                     BID           10/19/16 10:45           10/25/16 20:38

      Polyethylene            17 gm                    DAILY         10/20/16 11 :00          10/25/16 11 :09
      Glycol 17 i:im
      Metron idazole/         100 ml@                  Q8            10/20/16 21 :00          10/26/1605:14
      Sodium Chloride         200 mis/hr
      Acetaminophen           650 mg                   Q4H PRN       10/20/16 19:30           10/25/1605:18

      Nystatin 500 mu         500 mu                   QID           10121/16 13:00           10125/16 20:38

      Cefepime HCI            50ml@                    Q6            10122/16 17:00           10/26/16 05: 14
                              100 mis/hr
      Senna/Docusate          1 tab                    BID           10123/16 10:45           10/25/16 20:38
      Sodium
      Hydromorphone HCI       1 mg                     Q3H PRN       10124/16 17:45           10125/16 13:08

      Hydromorphone HCI       1.5 mg                   Q3H PRN       10124/16 17:45           10126/16 01 : 14

      Folic Acid              1 mg                     DAILY         10126/16 09:00

      Thiamine HCI            100 mg                   DAILY         10/26/16 09:00

      Multivitamins           1 tab                    DAI LY        10/26/16 09:00
      Therapeutic

Titratable Med Infusions

(IRIARTE OPORTO,BLANCA E MD)

Patient Data
                                            Vital Signs, Last Documented
        Date Time         Temp     Pulse   Resp B/P         Pulse Ox 02 Delivery       02 Flow Rate    Fi02
       10/26/16 07 :00              117       25 113/67           99 Nasal Cannula             400
       10/26/16 02 :00     37.1
       10/25/16 11 :00                                                                                   40

Weight in Kg
80.00
                                                            Bedside Blood Glucose Last 24h
10/25/16 10:55: POC Glucose 90
10/25/16 16:03: POC Glucose 107
10/25/16 22:05: POC Glucose 144
10/26/16 05:01: POC Glucose 122


                                                        10/26/16
                                  --------------------------
PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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                        Mercy Fitzgerald Hospital
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PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247


                              --------------- - - - - - - - - - 5 7:00-
                                Intake Total                              1358 ml
                                Outout Total                              2205 ml
                                Balance                                   -847 ml

                                Intake Oral                                410 ml
                                IV Total                                   378ml
                                Tube Feeding                               120 ml
                                Tube lrriaant                              450ml
                                Outout Urine Total                        2115 ml
                                Chest Tube Drainaae Total                   90ml
                                #Voids                                          1

Sedation Score Actual
0

(IRIARTE OPORTO, BLANCA E MD)

Physical Exam
Appearance: : Alert: Appears Stated Age : Flat: No Acute Distress
Head Exam: : Moist Mucous Membranes: Normocephalic: other (oral thrush lesions) : Symmetric
HEENT: : EOMI : PERRL : Pharynx Normal : Sciera Anicteric
Thorax: : Decreased Breath Sounds (on bilateral lung fields. ): No Accessory Muscle Use: other (tachypneic)
Cardiovascular: : Regular Rate Rhythm: Tachycardia
Abdomen: : Bovvel Sounds Noted: Non-distended: Non-tender: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal : Skin Temperature Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Normal
Follows Commands: Yes
(IRIARTE OPORTO,BLANCA E MD)

Results
Results
                                                         Lab Results, CBC Diagram
10/26/16 05:45




                                                         Lab Results, BMP Diagram
10/25/16 08:29


PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR# : F001250247




                                           ~16~
                                             5.7        28        1.2     ~

10/26/16 05:45


                                           ~19~
                                           4'.6#29 1.2 121
                                                             PT/PTT/INR
10/25/16 08:29:
Prothrombin Time 17.2, Prothromb Time International Ratio 1.5
10/26/16 05:45:
Prothrombin Time 17.8, Prothromb Time International Ratio 1.6
Diagnostics Reviewed: Yes
Imaging
Chest X-Ray : Left upper extremity PICC line tip on SVC and right atrium , 2 chest tubes appreciated on right
hemithorax, a NG/OG tube appreciated. Haziness noted in lower left lung love.
 (IRIARTE OPORTO,BLANCA E MD)

Quality
Discussed Care Plan with: Patient
Code Status: Full Code
 (IRIARTE OPORTO, BLANCA E MD)
Lines Tubes and Catheter: NG Tube (Dubhoff tube - (10/19/2016) ), PICC (LEFT UPPER EXTREMITY - 10/11/
2016), Other (2 chest tubes ( 10/24/2016))
 (IRIARTE OPORTO,BLANCA E MD)
VTE Prophylaxis Ordered: Yes
 (IRIARTE OPORTO, BLANCA E MD)
Indwelling Foley Catheter: No
 (IRIARTE OPORTO, BLANCA E MD)
Central Venous Catheter: No
 (IRIARTE OPORTO,BLANCA E MD)
1 :1 Sitter: Continued (Reminder: Enter Orders in POM)
 (IRIARTE OPORTO,BLANCA E MD)

Impression and Plan
Assessment
Problem List:
(1) Empyema
(2) SIP thoracotomy
(3) Aspiration pneumonia
(4) Loculated pleural effusion
(5) Electrolyte disturbance
(6) Acute liver failure


PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247



(7) suicidal overdose
(8) Polysubstance abuse
(9) HIV (human immunodeficiency virus infection)
(10) Oral thrush
(11) Antisocial personality disorder in adult
(12) Anxiety
Chronic Problems: (IRIARTE OPORTO,BLANCA E MD)

Management Plan
Plan
Neuro: We will continue with Clonazepam 1 mg BID.for agitation.
       We will continue with pain control regimen and we will adjust if needed:
              - Acetaminophen 650 mg Q4 for mild pain ( 1-3 )
              - Hydromorphone 1 mg Q3 for moderate pain ( 4 -6 )
              - Hydromorphone 1.5 mg Q3 for severe pain (7-10)
       Risperidone 2 mg BID PO.

CVS: Patient continues to be tachycardic most likely secondary to sepsis/s/p mini thoracotomy/pain.
We will monitor vital signs and control the pain.
       B.P. fairly controlled
       TEE = no vegetations, we will follow up with official report.

Pulm-
         - Patient is status post Mini Thoracotomy and decortication.
         - AFB culture: no acid fast bacilli
        - Fungal culture: In process.
         - Surgical culture: 2 organism, organism 1: B-Hemolytic Strep. C, we will follow up with final
results.
         - Continue with cefepime and metronidazole for aspiration pneumonia/empyema.
        - Continue with nebulizations, suction and nystatin swish and swallow.
        - Continue with senna spirometry.

GI:      Continue Nystatin swish and swallow for oral candidiasis.
         Elevated LFT secondary to liver sepsis. We will monitor LFTs.


GU:     No active issue. Last serum creatinine was within normal limits.


ID: Aspiration pneumonia and Empyema of Right lung.
    Continue Cefepime, Metronidazole.
    Echocardiogram showed NO vegetations or valvulopathy.
    Hx of HIV infection - CD4 count is: 245 ( Low). Will start HAART therapy once acute illness
resolves.


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1026-0057
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



     Leukocyte count is trending up most likely secondary to current infection vs. s/p thoracotomy?.

Hem/One: INR continues to be elevated- most likely due to liver injury secondary to sepsis.
           Thrombocytosis most Ii kely reactive.
           Hemoglobin has been stable but the last result is lower, possible due to chest tube
drainages.
           We will re-start DVT prophylaxis with Enoxaparin 40 mg s/c Daily.
Endo: No active issues
F/E/N:   Monitor electrolyte and replete as needed
        Continue with tube feeds and with nutrition recommendations.

Social: Full code.
        NOK:    Sheree Bradham (484) 420-5809 Mother
               Ellis Bradham (610) 348-4661 Father
               Tosin Efunnuga 267-918-4065 Sister


(IRIARTE OPORTO, BLANCA E MD)

Additional lnfonnation
Condition: Critical
Critical Care Time (mins): 30
Additional Comments
Excluding teaching or procedures
(LERMAN,GABRIEL S DO)

Attestation Statement
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff. and agree as
documented with the following comments:

The patient reports that he does not cough every single time he eats but rather anytime that he moves. According to
nursing whenever he drinks he does seem to cough afterwards. I have asked that speech and swallow reevaluate the
patient to ensure that he has the proper texture. He may actually need a video swallow evaluation in order to ensure
that he does not have any significant dysphagia. In addition I do expect with movement for him to cough somewhat
as he probably has a degree of atelectasis from laying in bed. We'll provide him with an incentive spirometer to use
at bedside with instructions on use to use 10 times per hour. I did explain this to the patient the importance of doing
that exercise. In addition the patient should be out of bed to chair for most of the day and we will get physical therapy
to help with that.

The patient remains under 302 status and we have called psychiatry once again in order to see if they will uphold it.

He has also remained tachycardic in the 1 teens to 120 range and while he cannot remained tachycardic for long
periods of time I would hesitate to use a beta blockage at this time as it is sinus tachycardia. It is possible that the
patient is volume depleted as he has not had significant oral intake and had he has been getting free vrater flushes at


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1026-0057
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                           Mercy Fitzgerald Hospital
                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR# : F001250247



25 mUh. We will give him a bolus of 500 ml normal saline and evaluate his response. We will place the ultrasound
probe down and evaluate his IVC for compression. Since he has been in bed for more than a week and was found
down if he does not respond to the fluid challenge we will get a CT angiogram in order to rule out a pulmonary
em bolus. However he does have other reasons to be in sinus tachycardia including pain, anxiety, agitation. He did
have a VATS procedure recently and currently has 2 chest tubes. These certainly can contribute to his tachycardia
and the form of pain and discomfort. There is no indication of an AA gradient at this time.
(LERMAN,GABRIEL S DO)


IRIARTE OPORTO.BLANCA E MD                                                   Oct 26, 2016 07 :36
LERMAN,GABRIEL S DO                                                          Oct 26, 2016 13:13

         <Electronically signed by BLANCA E IRIARTE OPORTO, MD> 10/26/16 0817
         <Electronically signed by GABRIEL S LERMAN, DO> 10/26/16 1318




IRIABL I BIO I DD 10/26/16 0736 /OT 10/26116 0736




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1026-0057
REPORT STATUS: Signed
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                                                Mercy Fitzgerald Hospital
                                                     Cardiology Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                MR#: F001250247
ACCT: FA 1307223089                            ADMIT DATE: 10/07/16
REPORT#: 1026-0075                             008: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/26/16 08:00
Subjective
Extubated yesterday. Complains of pain at the thoracotomy site and with deep inspiration. Denies abdominal pain .

Objective
Medications

                                                          Medications Active List
Enoxaparin Sodium 40 mg DAILY Last administered on 10/25/16at 09:35; Start 10/11/16 at 10:45
Insulin Human Regular SS LOW DOSE LOW INTENSITY SCALE: Bl .. . 06 Last administered on 10/22/16at 18:50;
Start 10/12/16 at 07:45
Dextrose 16 gm PRN PRN Last administered on 10/12/16at 12 :41 ; Start 10/12/16 at 11 :45
Dextrose/VVater 12.5 gm PRN PRN ; Start 10/12/16at 11:45
Risperidone 2 mg BID Last administered on 10/25/16at 20:38; Start 10/15/16 at 12:15
Haloperidol Lactate 5 mg 06 PRN Last administered on 10/21/16at 04:22 ; Start 10/17/16 at 11 :15
Clonazepam 1 mg BID Last administered on 10/25/16at 20:38; Start 10/19/16 at 10:45
Polyethylene Glycol 17 gm 17 gm DAILY Last administered on 10/25/16at 11 :09 ; Start 10/20/16 at 11 :00
Metronidazole/ Sodium Chloride 100 ml@ 200 mis/hr 08 Last administered on 10/26/16at 05:14; Start 10/20/16 at
21:00
Acetaminophen 650 mg Q4H PRN Last administered on 10/25/16at 05:18; Start 10120/16 at 19:30
Nystatin 500 mu 500 mu QID Last administered on 10/25/16at 20:38; Start 10/21/16 at 13:00
Cefepime HCI 50 ml@ 100 mls/hr06 Last administered on 10/26/16at 05:14; Start 10/22/16 at 17:00
Senna/Docusate Sodium 1 tab BID Last administered on 10/25/16at 20:38; start 10/23/16 at 10:45
Hydromorphone HCI 1 mg 03H PRN Last administered on 10/25/16at 13:08; Start 10/24/16 at 17:45
Hydromorphone HCI 1.5 mg Q3H PRN Last administered on 10/26/16at 01 :14; start 10/24/16 at 17:45
Folic Acid 1 mg DAILY; Start 10126/16 at 09:00
Thiamine HCI 100 mg DAILY ; Start 10/26/16 at 09:00
Multivitamins Therapeutic 1 tab DAILY; start 10/26/16 at 09:00
Patient Data
                                          Vital Signs, Last Documented
        Date Time        Temp    Pulse   Resp B/P         Pulse Ox 02 Deliverv         02 Flow Rate     Fi02
       10/26/16 07 :00            117      25 113/67            99 Nasal Cannula               4.00
       10/26/16 02 :00    37.1
       10/25/16 11 :OD                                                                                    40

Weight in Kg


PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1026-0075
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Cardiology Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



80.00
                                                          Bedside Blood Glucose
10/26/16 05:01: POC Glucose 122

Physical Exam
NAO, MMM
NoJVD
Decreased breath sounds bilaterally
Tachycardic but regular rhythm , S1 and S2 preserved, no murmur, rub or gallop
No lower extremity edema
Normoactive bowel sounds, soft, nontender
lntegumentary is warm and well-perfused

Results
                                                          Lab Results, CBC Diagram
10/26/16 05:45


                                              27.6


                                                          Lab Results, BMP Diagram
10/25/16 08:29


                                           ~16
                                           5 i 2 i J 1.2
10/26/16 05:45

                                           WPF94 4 19
                                           uF29                   1.2

                                                          PT/PTT/INR
10/25/16 08:29:
Prothrombin Time 17.2, Prothromb Time International Ratio 1.5
10/26/16 05:45:
Prothrom bin Time 17.8, Prothrom b Time International Ratio 1.6
Surgical culture from that is growing beta hemolytic strep C
Diagnostics Reviewed: Yes
Diagnostic Tracings
Telemetry: Sinus tachycardia in the 11 Os to 120s

Impression and Plan
Problem List:


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 102&0075
REPORT STATUS: Signed
              Case 2:18-cv-00924-PD                 Document 15-10       Filed 05/03/18        Page 33 of 51


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                         Mercy Fitzgerald Hospital
                                    Cardiology Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



(1) Drug overdose
(2) Aspiration pneumonia
(3) Pleural effusion
(4) Abscess of lung with pneumonia
(5) SIP thoracotomy
(6) Tachycardia
Chronic Problems:
Plan
Loculated pleural effusion, pulmonary abscess and bacteremia: Cultures repeatedly growing strep species. No
evidence of infectious endocarditis on TEE.

Mildly reduced biventricular ventricular systolic function : This may be a stress-induced decreased in biventricular
function. Clinically he appears euvolemic. He will need a repeat echocardiogram in 2-3 months or sooner if he
decompensates after discharge to further evaluate and to determine if further workup is needed.

Tachycardia: This is sinus tachycardia and likely physiologic in this setting. Since his tachycardia is persistent, add
low-dose metoprolol tartrate 6.25 mg twice daily.


MENETREY,JAMMIE E 00                                                             Oct 26, 2016 08:06

         <Electronically signed by JAMMIE E MENETREY, DO> 10/26/16 0806




MENEJA I JEM I DD 10/26116 0806 /OT 10/26116 0806




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1026-0075
REPORT STATUS: Signed
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                                                Mercy Fitzgerald Hospital
                                                    General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                MR#: F001250247
ACCT: FA 1307223089                            ADMIT DATE: 10/07/16
REPORT # : 1026-0130                           DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/25/16 06:35
Service: General Surgery
Subjective
(from 10/25/16) Seen and examined at bedside. Failed extubation overnight. CT to low continuous wall suction, no air
leak.

Objective
                                          Vital Signs, Last Documented
        Date Time        Temo    Pulse   Reso B/P         Pulse Ox 02 Deliverv         02 Flow Rate     Fi02
       10/26/16 08:00                                              Nasal Cannula               4.00
       10/26/16 08:00     37.6    121      21 128/71            98
       10/25/16 11 :OD                                                                                    40

Weight in Kg
80.00
                                                         Bedside Blood Glucose
10/26/16 05:01: POC Glucose 122
Physical Exam
General : no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes : sclera anicteric
Thorax: intubated and on mechanical ventilation, CT to low continuous wall suction, dark serosanguinous drainage,
no air leak
Cardiovascular: no jugular venous distension, no murmurs, decreasing tachycardia in the low 100s
Abdomen: soft, non-tender, non-distended, bowel sounds noted
Extremities: no cyanosis, pulses 2+ bilaterally
Neurologic: alert/awake/oriented, grossly no abnormalities
                                                           Lab Results, CBC Diagram
10/26/16 05:45


                                             27.6


                                                         Lab Results, BMP Diagram
10/26/16 05:45


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1026-0130
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247




                                             ~19
                                             4'.6#29 1.2

Impression and Plan
Assessment
Problem List:
(1) Loculated pleural effusion
(2) HIV (human immunodeficiency virus infection)
(3) Suicide and self-inflicted poisoning by drugs and medicinal substances
(4) Drug overdose
(5) Anxiety
(6) Polysubstance abuse
Chronic Problems:

Management Plan
Plan
37M with past history of HIV, anxiety, and polysubstance abuse who was admitted after being found unresponsive at
home. He has intubated on arrival on 10/17/16 and was extubated on 10/15/16. Since that time his chest x-rays have
demonstrated right lower lobe consolidation and an increasing right pleural effusion, leading to failed attempts at IR
drainage. Chest CT performed on 10/20/16 demonstrates a small to moderate loculated right effusion. Thoracic
surgery is being consulted for evaluation and possible intervention for the patient's right loculated pleural effusion. sip
mini thoracotomy, unroofing of abscess, decortication, and CT placement x 2.

-Continue close monitoring
-Keep CT to low continuous wall suction
-flu CT output
-f/u CXR
-Wean to extubate
-Continue IV abx
-Management per ICU team
-Lovenox for DVT ppx


SALi M,ANOREW N MD                                                              Oct 26, 2016 9:32 am

        <Electronically signed by ANDREW N SALIM, MD> 10/26/16 0932
        <Electronically signed by HAJI M SHARIFF, MD> 10/28/16 1144




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1026-0130
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




SALIAN I ANS I DD 10/26/16 0932 /OT 10/26/16 0932




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1026-0130
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                     General Surgery Progress Note
PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA 1307223089                             ADMIT DATE: 10/07/16
REPORT # : 1026-0245                            008: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : OOCTOR,NONE (FAMILY)

                                                 ***Signed Status ***


Subjective
Encounter Date & Time
10/26/16 13:15
Service: General Surgery
Subjective
(for 10/26/16) Seen and examined at bedside. Extubate yesterday. CT still to low continuous wall suction, no leak.

Objective
                                          Vital Signs, Last Documented
        Date Time       Temp     Pulse   Resp B/P         Pulse Ox 02 Deliverv           02 Flow Rate    Fi02
       10/26/1612:07              121            128171         98 Nasal Cannula                 4.00
       10/26/1611 :00                      24
       10/26/16 08:00     37.6
       10/25/1611 :00                                                                                       40

Weight in Kg
80.00
                                                             Bedside Blood Glucose
10/26/16 05:01: POC Glucose 122
Physical Exam
General : no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes: sclera anicteric
Thorax : on 4L NC, CT to low continuous wall suction, dark serosanguinous drainage, no air leak
Cardiovascular: no jugular venous distension, no murmurs, tachycardic to the 120s
Abdomen : soft, non-tender, non-distended, bowel sounds noted
Extremities: no cyanosis, pulses 2+ bilaterally
Neurologic: alert/awake/oriented, grossly no abnormalities
                                                             Lab Results, CBC Diagram
10/26/16 05:45


                                              27.6


                                                             Lab Results, BMP Diagram
10/26/16 05:45



PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1026-0245
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   General Surgery Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247




                                                   ~19
                                                   4'.6#29 1.2

Impression and Plan
Assessment
Problem List:
(1) Loculated pleural effusion
(2) HIV (human immunodeficiency virus infection)
(3) Suicide and self-inflicted poisoning by drugs and medicinal substances
(4) Drug overdose
(5) Anxiety
(6) Polysubstance abuse
Chronic Problems:

Management Plan
Plan
37M with past history of HIV, anxiety, and polysubstance abuse who was admitted after being found unresponsive at
home. He has intubated on arrival on 10/17/16 and was extubated on 10/15/16. Since that time his chest x-rays have
demonstrated right lov.ier lobe consolidation and an increasing right pleural effusion, leading to failed attempts at IR
drainage Chest CT performed on 10/20/16 demonstrates a small to moderate loculated right effusion Thoracic
surgery is being consulted for evaluation and possible intervention for the patient's right loculated pleural effusion. sip
mini thoracotomy, unroofing of abscess, decortication, and CT placement x 2.

-Continue close monitoring
-Recommend CT to waterseal with follow-up xray approximately 4 hours after CTs are placed to waterseal
-May remove 1 CT today, will d/w Dr. Shariff
-f/u CT output
-Continue IV abx
- Management per ICU team
-Lovenox for DVT ppx


SALIM.ANDREW N MD                                                                 Oct 26, 2016 13:20

         <Electronically signed by ANDREW N SALIM, MD> 10/26/16 1322
         <Electronically signed by HA.JIM SHARIFF, MD> 10/28/16 1144




SALIAN I ANS I DD 10/26/161320 IDT 10/26/16 1320




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1026-0245
REPORT STATUS: Signed
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                                               Mercy Fitzgerald Hospital
                                                   Psychiatric Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                               MR#: F001250247
ACCT: FA1307223089                            ADMIT DATE: 10/07/16
REPORT # : 1026-0272                          DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                               ***Signed Status***


Subjective
Encounter Date & Time
10/26/16 13:59
Service: Psychiatry
Appetite: Fair
Sleep: Fairly Good

Objective

                                          Vital Signs, Last Documented
        Date Time        Temo    Pulse   Re so B/P        Pulse Ox 02 Deliverv     02 Flow Rate   Fi02
       10/26/16 12:07             121            128171         98 Nasal Cannula           4.00
       10/26/16 11 :00                     24
       10/26/16 08:00     37.6
       10/25/16 11 :00                                                                              40

Weight in Kg
80.00
                                                       Bedside Blood Glucose
10/26/16 05:01: POC Glucose 122
Physical Exam
General : D
Head/Neck/Throat: []
Eyes: D
Thorax : []
cardiovascular: []
Abdomen: []
Musculoskeletal : []
Skin : []
Neurologic: D
Current Meds Reviewed: Yes
Labs Reviewed: Yes
                                                       Lab Results , CBC Diagram
10/26/16 05 :45


                                            27.6




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1026-0272
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Psychiatric Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247



                                                     Lab Results, BMP Diagram
10/26/16 05:45


                                       ~19
                                       ~1.2


Quality
Discussed Care Plan with: Patient
Code Status: Full Code

Impression and Plan
Severity of Illness
1:1 Observation: Yes
Danger to Self Evidenced By
Patient is felt to still possibly be suicidal by his attending physician, Dr.Gevorgyan.
Change in Symptoms: Improving

Assessment
Mini Mental Status Exam: Not Done
Axis I:
(1) Polysubstance abuse
Axis II:
(1) Antisocial personality disorder in adult
Axis Ill:
(1) Alcohol withdrawal delirium
(2) HIV (human immunodeficiency virus infection)
(3) Drug overdose
Axis IV:
(1) Suicide and self-inflicted poisoning by drugs and medicinal substances
Patient Problems:
Additional Comments
I was initially consulted on this patient on 10/19. I was re-consulted today primarily to determine if
the one-to-one observation needs to be continued . The nursing staff say they have not observed any
suicidal indications in the patient. According to his one-to-one observer, this is the first day that the
patient has not been quite agitated and combative (at least not by midmorning) and she feels he is
still confused at times. The patient appeared to be somewhat confused to me and was not able to
clearly discuss and state whether or not he would try to hurt himself, take another overdose, or
discuss the specific stressors that led him to take the overdose and want to die, etc. The patient's
attending physician, Dr. Gevorgyan, feels that the patient might still want to hurt himself and would
like the patient to be continued on one-to-one until he is more medically stabilized. His attending
physician says the patient still has chest tubes and will need to be followed up by surgery and in the
ICU probably a few more days and will re-notify me when the patient is felt to be reaching a point of
his medical stabilization baseline. I will then do a reevaluation and determine if the 302 needs to be

PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                    Psychiatric Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



upheld and if I believe that the patient needs to receive acute psychiatric inpatient treatment. I do
not understand the specifics of his legal status, but I was told that the patient has a felony charge
and that the police are to be notified prior to the patient being taken off of one-to-one observation. I
also understand that the patient is not to be allowed to leave the hospital, and that any attempt to
elope should immediately result in security and the police being called to prevent that.


THOMPSON , TROY L MD                                                        Oct 26, 2016 14:04

         <Electronically signed by TROY L THOMPSON, MD> 10/26/16 1415




THOMTR I TI I DD 10/26/161404 / DT 10/26/16 1404




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1026-0272
REPORT STATUS: Signed
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                                                  Mercy Fitzgerald Hospital
                                                      Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT #: 1026-0283                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/26/16 14:20
Service: Infectious Disease
Subjective
Pt alert, 008 today, Tm 98.8, tolerating enteral feeding via kaofeed. Ct intact

Objective
Patient Data

                                           Vital Signs, Last Documented
        Date Time        Temo     Pulse   Re so B/P        Pulse Ox 02 Deliverv          02 Flow Rate   Fi02
       10/26/1612:07               121            128/71         98 Nasal Cannula                4.00
       10/26/16 11 :OO                      24
       10/26/16 08:00     37.6
       10/25/16 11 :00                                                                                    40

Weight in Kg
80.00
                                                           Bedside Blood Glucose
10/26/16 05:01: POC Glucose 122

Physical Exam
NG intact
iv access in tact
CT intact Neuro no tremor appreciated, en intact, ms 5/5 upper and lower plantars down

Results
                                                           Lab Results, CBC Diagram
10/26/16 05:45




                                                           Lab Results, BMP Diagram
10/26/16 05:45



PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1026-0283
REPORT STATUS: Signed
              Case 2:18-cv-00924-PD                Document 15-10      Filed 05/03/18       Page 43 of 51


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                         Mercy Fitzgerald Hospital
                                   Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




                                                  ~19
                                                  4'.6#29 1.2
                                                         PT/PTT/INR
10/26/16 05:45:
Prothrombin Time 17.8, Prothromb Time International Ratio 1.6
10/26/16 12:38: Activated Partial Thromboplast Time 37.4
pleural fluid els= strep group C, and staph aureus

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood cl sterile, TEE= n o vegetations or valvular abnormality,
pneumonia : aspiration , complicated by right effusion, and cavitary formation ,
right pleural effusion: sip decortication and drainage 10/24
HIVD: moderately advanced, CD4 240-300
elevated temperature :recurrent, presently resolved , new els sterile
confusion: resolving
leukocytosis: follow response to intervention
abx mgmt:substituted ceftriaxone for cefepime
discussed clinical presentation with icu nursing staff

recommend TEE when logistically feasible


GILBERT,MARK, MD                                                               Oct 26, 2016 14:23

         <Electronically signed by MARK GILBERT, MD> 10/26/16 1423




GILBMA /MG I DD 10/261161423 / DT 10/26/16 1423




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1026-0283
REPORT STATUS: Signed
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                                                  Mercy Fitzgerald Hospital
                                                      Pulmonology Progress Note
PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT #: 1026-0376                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                  ***Signed Status***

Subjective
Encounter Date & Time
10/26/16 17:23
Service: Pulmonology
Subjective
Denies significant respiratory complaints. Says has just started using his incentive spirometer.

Objective
Active Meds Reviewed: Yes
Patient Data
                                           Vital Signs, Last Documented
         Date Time        Temp    Pulse   Resp    B/P       Pulse Ox    02 Deliverv       02 Flow Rate   Fi02
        10/26/16 17:00             116      24    156/64          99    Nasal cannula             4.00
        10/26/16 12:00     37.2
        10/25/16 11 :00                                                                                    40

Weight in Kg
80.00
                                                            Bedside Blood Glucose
10/26/16 16:25: POC Glucose 115
Appearance: : No Acute Distress
Thorax: : CTA Bilateral : Decreased Breath Sounds: No Accessory Muscle Use: Other (right-sided chest tube , now to
water seal.)
Cardiovascular: : No JVD: Regular Rate Rhythm

Results
                                                            Lab Results, CBC Diagram
10/26/16 05:45


                                              27.6


                                                           Lab Results, BMP Diagram
10/26/16 05:45




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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REPORT STATUS: Signed
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                           Mercy Fitzgerald Hospital
                                      Pulmonology Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




                                                     ~19
                                                     4'.6#29 1.2
                                                               PT/PTT/INR
10/26/16 05:45:
Prothrombin Time 17.8, Prothromb Time International Ratio 1.6
10/26/16 12:38: Activated Partial Thromboplast Time 37.4
Imaging
Chest x-ray reviewed personally, right-sided chest tube, bilateral opacification.

Impression and Plan
Problem List:
(1) Aspiration pneumonia
(2) Bacteremia
(3) E rnpyema
(4) SIP thoracotomy
(5) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Now extubated
(6) Suicidal overdose
(7) Polysubstance abuse
(8) Antisocial personality disorder in adult
(9) HIV (human immunodeficiency virus infection)
Chronic Problems:
Plan
IV antibiotics, follow temp. Analgesia, and incentive spirometry. Out of bed as tolerated. Follow chest x-ray
Condition: Guarded


PILLAI .AJAY R, MD                                                                  Oct 26, 2016 17:25

         <Electronically signed by AJAY R PILLAI, MD> 10/26/16 1725




PILLAJ I ARP I DD 10/26/16 1725 / DT 10/26/16 1725




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
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                                               Mercy Fitzgerald Hospital
                                                   Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                               MR#: F001250247
ACCT: FA 1307223089                           ADMIT DATE: 10/07/16
REPORT # : 1027 -0076                         DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP: DOCTOR,NONE (FAMILY)

                                               ***Signed Status***


Subjective
Encounter Date & Time
10/27/16 07 :26
Subjective
Hospital LOS days: 21
ICU LOS: 21
Subjective
Patient was seen and examined overnight. Complaints of chest pain on the chest tube area, unchanged from
yesterday. He mentions the cough is improving.
Overnight: No acute events, he slept well.

Review of Systems
Unable to Obtain: Clinical Condition
Constitutional: : Fatigue : General Weakness
Head and Neck: Denies: Headache
Eyes: Denies: Blurred Vision
Ears, Nose, Mouth, Throat: Denies: Bleeding Gums, Nasal Discharge, Nasal Obstruction
Neurological: Denies: Headache
Cardiology: : Chest PainDenies: Exertional Dyspnea, Orthopnea, Palpitations
Respiratory: : CoughDenies: Breathing Worse
Gastrointestinal: Denies: Abdominal Distention, Abdominal Pain
Genitourinary: Denies: Change in Urine stream
Psychiatric: : Depressed

Objective
Active Meds Reviewed: Yes
Medications

                                                        Medications Active List
      Medications            Dose                    Sig/Sch     start Time          status   LastAdmin
                             Ordered                             stop Time
      Enoxaparin Sodium      40mg                    DAILY        10/11/16 10:45              10/26/16 10:02

      Insulin Human          SS LOW DOSE LOW         06            10/12/16 07:45             10/22/16 18:50
      Regular                INTENSITY
                             SCALE: Bl. ..
      Dextrose               16 gm                   PRN PRN       10/12/16 11 :45            10/12/16 12:41




PATIENT: EFUNNUGA,OLUTOKUNBO
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                         Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001 250247



      DextroseANater          12.5 gm                 PRN PRN       10/12/16 11:45

      Risperidone             2 mg                    BID           10/15/16 12:15            10/26/16 21 :46

      Haloperidol             5mg                     Q6 PRN        10/17/1611 :15            10121/16 04:22
      Lactate
      Clonazepam              1 mg                    BID           10/19/16 10:45            10/26/16 10:01

      Polyethylene            17 gm                   DAILY         10/20/16 11 :00           10/26/16 10:00
      Glvcol
      Acetam inophen          650 mg                  Q4H PRN       10/20/1619:30             10125/16 05: 18

      Senna/Docusate          1 tab                   BID           10/23/16 10:45            10126/16 21 :46
      Sodium
      Hydromorphone HCI       1 mg                    Q3H PRN       10/24/1617:45             10/26/16 14:06

      Hydromorphone HCI       1.5 mg                  Q3H PRN       10/24/16 17:45            10/27/16 01 :37

      Folic Acid              1 mg                    DAILY         10/26/16 09:00            10126/16 10:02

      Th iam ine HCI          100 mg                  DAILY         10/26/16 09:00            10126/16 10:01

      Multivitamins           1 tab                   DAILY         10/26/16 09 :00           10/26/16 10:01
      Theraoeutic 1 tab
      Ceftriaxone Sodium      100 ml@                 DAILY         10127/16 09:00
                              100 mis/hr
      Nystati n 500 mu        500 mu                  QID           10/26/16 17:00            10126/16 18:48

      Metronidazole/          100 ml@                 Q8            10/26/16 21 :00           10/27/16 05:41
      Sodium Chloride         200 mis/hr

Patient Data
                                           Vital Signs, Last Documented
         Date Time         Temp    Pulse   Resp B/P          Pulse Ox 02 Delivery     02 Flow Rate   Fi02
        10/27/16 06:00              122       20 149/82            94 Room Air
        10/27/16 01 :00     37.1
        10/26/16 22 :00                                                                       2.00
        10/25/16 11 :00                                                                                40

Weight In Kg
80.00
                                                           Bedside Blood Glucose Last 24h
10/26/1611:41: POC Glucose 142
10/26/16 16:25: POC Glucose 115
10/26/16 21:43: POC Glucose 128
10/27/16 05:14: POC Glucose 127


PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247




                                                                         10/27/16
                                                                            07:00
                               Intake Total                               1700 ml
                               Out ut Total                               1591 ml
                               Balance                                     109 ml

                                                                          870 ml
                                                                          100m l
                                                                          455 ml
                                                                          275ml
                               Output Urine Total                        1571 ml
                               Chest Tube Draina e Tota l                  20 ml
                               #Voids                                          1

Sedation Score Actual
0

Physical Exam
Appearance: : A lert: Appears stated Age : No Acute Distress: Sad
Head Exam: : Moist Mucous Membranes: Normocephalic: Symmetric
HEENT: : EOMI : Moist Mucous Membranes: PERRL: Sciera Anicteric
Thorax: : CTA Bilateral: No Accessory Muscle Use
Cardiovascular: : Regular Rate Rhythm : Tachycardia
Abdomen: : Non-distended : Non-tender: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal : Skin Temperature Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Normal
Follows Commands: Yes

Results
Results
                                                          Lab Results , CBC Diagram
10/27/16 06:05


                                              22.B


                                                          PT/PTT/INR
10/26/1612:38: Activated Partial Thromboplast Time 37.4
10/27/16 06:05:


PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Prothrombin Time 15.8, Prothromb Time International Ratio 1.3
                                                             Arterial Blood Gas
10/7/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1 , Venous Blood Partial Pressure 02 91 .1, Venous Blood p02 (Temp Corrected)
91.1 , Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Calcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pos
10/24/16 17:00:
Arterial Blood pH 7.41 , Arterial Blood pH (Temp corrected) 7.41 , Arterial Blood Partial Pressure C02 40.6, Arterial
Blood pC02 (Temp correct) 40.6, Arterial Blood Partial Pressure 02 104, Arterial Blood p02 (Temp corrected) 104,
Arterial Blood HC03 25.4, Arterial Bid 02 Saturation (Measur) 97.8, Arterial Blood Base Excess 0.7, Arterial Blood
Hematocrit 38.6, Arterial Blood Sodium 127, Arterial Blood Potassium 8.6, Chloride (Blood Gas) 100, Ionized
Galcium (Measured) (Bid Gas 1.07 , Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
O.na, Blood Gas Ventilator Setting 16, Fi02 50.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes
Imaging
Chest-X Ray: 2 chest tubes observed on right lung field , left upper extremity PICC line tip in right atria, Dubhoff tube
observed with coiled tip in stomach, bilateral pulmonary infiltrates and blunting of left costophrenic angle.

Quality
Discussed Care Plan with: Patient
Code Status: Full Code
Lines Tubes and Catheter: Chest Tube (2 chest tubes on right hem ithorax - 10/24/2016), NG Tube (10/19/2016),
PICC (10/11/2016)
VTE Prophylaxis Ordered: Yes
Indwelling Foley Catheter: No
Central Venous Catheter: No
1 :1 Sitter: Continued

Impression and Plan
Assessment
Problem List:
(1) E"1Jyema
(2) SIP thoracotomy
(3) Aspiration pneumonia
(4) Tachycardia
(5) Acute liver failure
(6) Suicidal overdose
(7) Polysubstance abuse
(8) HIV (human immunodeficiency virus infection)
(9) Oral thrush
(10) Antisocial personality disorder in adult
(11) Anxiety
Chronic Problems:


PATIENT: EFUNNUGAOLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247




Management Plan
Plan
Neuro: We will continue with Clonazepam 1 mg BID.for agitation.
       We will continue with pain control regimen and we will adjust if needed:
              - Acetaminophen 650 mg Q4 for mild pain ( 1-3 )
              - Hydromorphone 1 mg Q3 for moderate pain ( 4 -6 )
              - Hydromorphone 1.5 mg Q3 for severe pain (7-10)
       Risperidone 2 mg BID PO.
      PSY evaluated the patient and he continues to be 302 and 1: 1.

CVS: Patient continues to be tachycardic most likely secondary to sepsis/s/p mini thoracotomy/pain.
We will monitor vital signs and control the pain.
        B.P. fairly controlled
        TEE = no vegetations.
        We will discuss with team the possibility to add low-dose metoprolol tartrate 6.25 mg twice
daily since his tachycardia is persistent.

Pulm-
         - Patient is status post Mini Thoracotomy and decortication.
         - We will follow up with final culture results.
         - Continue with ceftriaxone and metronidazole for aspiration pneumonia/empyema .
         - Continue with nebulizations, suction and nystatin swish and swallow.
         - Continue with senna spirometry.

GI:      Continue Nystatin swish and swallow for oral candidiasis.
         F/U with BMP.


GU:     No active issue.


ID: Aspiration pneumonia and Empyema of Right lung.
    Continue CEFTRIAXONE/METRONIDAZOLE.
    Hx of HIV infection- CD4 count is: 245 ( Low). Will start HAART therapy once acute illness
resolves.
    We will follow up with CBC.

Hem/One:
          F/U with CBC.
          Continue with DVT prophylaxis with Enoxaparin 40 mg s/c Daily.
Endo: No active issues.
F/E/N:  Monitor electrolyte and replete as needed
       Continue with tube feeds and with nutrition recommendations.


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PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR# : F001250247



           F/u with video-swallowing today.

Social: Full code.
        NOK:    Sheree Bradham (484) 420-5809 Mother
               Ellis Bradham (610) 348-4661 Father
               Tosin Efunnuga 267-918-4065 Sister


IRIARTE OPORTO, BLANCA E MD                                                   Oct 27, 2016 07:41

         <Electronically signed by BLANCA E IRIARTE OPORTO, MD> 10/27/16 0809




IRIABL I BIO I DD 10/27/16 0741 / DT 10/27/16 0741




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1027-0076
REPORT STATUS: Signed
